                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


      IN RE:

      DAVID VALEZ                                                Chapter:            7
                                                                 Case Number:        4:18-bk-03855-RNO
                                       Debtor(s)

      DAVID VALEZ                                                Adversary Number:   4:18-ap-00138-RNO

                                       Plaintiff(s)

                     v.                                          Document No.:       11

      EZ RENT A CAR INCORPORATED                                 Nature of           Motion for Summary
                                                                 Proceeding:         Judgment
                                       Defendant(s)


                                                      OPINION1

             Debtor filed an Adversary Complaint alleging Defendant violated the automatic stay.

      Subsequently, Debtor filed a Motion for Summary Judgment. For the reasons stated below, I

      will grant Debtor’s Motion in part and deny it in part.

 I.       JURISDICTION

             This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

      is a core proceeding under 28 U.S.C. § 157(b)(2)(A) & (G).

II.       FACTS AND PROCEDURAL HISTORY

             On or about August 5, 2017, David Velez (“Debtor”) entered into an Agreement

      (“Agreement”) whereby Debtor agreed to lease a 2012 Chrysler 200 LX (“Vehicle”) from EZ

      Rent A Car Inc. (“Defendant”). The general terms of the Agreement required a down payment




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             Drafted with the assistance of Timothy R. Powell, Esq., Law Clerk.

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as well as monthly payments over a specified period of time, at the end of which Debtor would

have the option of returning or purchasing the Vehicle. While not a co-obligor on the

Agreement, Amber Jo Derk (“Derk”) authorized Defendant to debit her account monthly in

satisfaction of Debtor’s monthly payments under the Agreement. Derk’s authorization was

never rescinded, and she is not a named debtor in the underlying bankruptcy proceeding.

       On September 14, 2018, Debtor filed his voluntary Chapter 7 bankruptcy petition (4:18-

bk-3855-RNO). Subsequently, Defendant received notice of Debtor’s Chapter 7 case which

indicated November 7, 2018, as the date set for the first meeting of creditors.

       On October 29, 2018, Defendant debited Derk’s account in the amount of $170.00 in

satisfaction of Debtor’s monthly payment under the Agreement. On November 20, 2018,

Defendant remotely disabled the Vehicle. On November 21, 2018, Defendant repossessed the

Vehicle, allegedly with some of Debtor’s possessions still inside.

       On November 27, 2018, Debtor filed this Adversary Complaint (“Adversary Complaint”)

(4:18-ap-138-RNO). On February 19, 2019, Debtor propounded discovery on Defendant,

including Requests for Admission (“Requests for Admission”). After some back and forth

conversations between the parties, Defendant answered the Requests for Admission on April 26,

2019. An Answer to the Complaint was filed on December 4, 2018. ECF No. 5.

       On April 12, 2019, Debtor filed a Motion for Summary Judgment (“Motion”). Briefs

have been filed in support of, and in opposition to, the Motion. A trial date is presently set for

October 18, 2019. The Motion is now ripe for decision regarding Defendant’s liability.




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III.   DISCUSSION

           Debtor requests summary judgment against Defendant on the issue of liability in relation

   to Defendant’s alleged violation of the automatic stay imposed by 11 U.S.C. § 362(a).2

   Specifically, Debtor alleges that Defendant violated the automatic stay when Defendant debited

   Derk’s account post-petition, disabled the Vehicle, and repossessed the Vehicle with Debtor’s

   personal possessions allegedly still inside. Debtor requests an award of compensatory damages,

   punitive damages, costs, and reasonable attorney’s fees pursuant to § 362(k). However, Debtor

   requests the amount of such damages be determined at trial

           In response, Defendant argues that it did not violate the stay when it debited Derk’s

   account because Derk is not named as a co-obligor on the Agreement nor is she named as a co-

   debtor in Debtor’s Chapter 7 bankruptcy. Defendant also argues that it did not violate the stay

   when it disabled and repossessed the Vehicle because Debtor had waived the protections of the

   automatic stay pursuant to paragraph thirteen of the Agreement. Furthermore, Defendant argues

   that it never had knowledge of any of Debtor’s personalty being in the Vehicle during or

   following the repossession.

       A. Standard of Review to Decide a Motion for Summary Judgment Under Federal
          Rule of Bankruptcy Procedure 7056

           Federal Rule of Bankruptcy Procedure (“FRBP”) 7056 makes Federal Rule of Civil

   Procedure (“FRCP”) 56 applicable in bankruptcy adversary proceedings. Summary judgment is

   appropriate and shall be granted when the movant establishes that there is no genuine dispute of

   material fact and that the movant is entitled to judgment as a matter of law. Beard v. Banks, 548

   U.S. 521, 529, 126 S.Ct. 2572, 2578 (2006); Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106


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    Unless otherwise noted, all future statutory references are to the Bankruptcy Code, 11 U.S.C.§ 101, et seq.,
   as amended by the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L. No. 109-8, 119
   Stat. 37 (“Bankruptcy Code”).

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S.Ct. 2548, 2552 (1986); Rosen v. Bezner, 996 F.2d 1527, 1530 (3d Cir. 1993). At the summary

judgment stage in the proceedings, a court must not weigh the evidence, or make a determination

as to the truth of the matter, but must instead decide if there is a genuine issue for trial. Santini v.

Fuentes, 795 F.3d 410, 416 (3d Cir. 2015) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

249, 106 S. Ct. 2505, 2511 (1986)). In determining whether or not there is a genuine issue of

material fact, “the substantive law will identify which facts are material. Only disputes over

facts that might affect the outcome of the suit under the governing law will properly preclude the

entry of summary judgment.” Anderson, 477 U.S. at 248, 106 S. Ct. at 2510; Cliffs-Neddrill

Turnkey Int'l-Oranjestad v. M/T Rich Duke, 947 F.2d 83, 87 (3d Cir. 1991); Felker v. Christine,

796 F. Supp. 135, 138 (M.D. Pa. 1992).

        When considering a motion for summary judgment, the court must draw all inferences in

the light most favorable to the non-moving party, here Defendant. Abramson v. William

Paterson Coll. of N.J., 260 F.3d 265, 276 (3d Cir. 2001); In re Eury, 544 B.R. 563, 565 (Bankr.

W.D. Pa. 2016). The initial burden of proof is on the movant to show that there is no dispute of

material fact, which may be established by citing materials on the record such as “depositions,

documents, affidavits, stipulations, admissions, and interrogatory answers.” In re Scalera, 2013

WL 5963554, at *1 (Bankr. W.D. Pa. Nov. 8, 2013). Once the movant has satisfied their initial

burden, the burden shifts to the non-moving party to show not merely “that there is some

metaphysical doubt as to the material facts” but that there is a genuine issue for trial. Scott v.

Harris, 550 U.S. 372, 380, 127 S.Ct. 1769, 1776 (2007) (citing Matsushita Elec. Indus. Co., Ltd.

v. Zenith Radio Corp., 475 U.S. 574, 586–87, 106 S.Ct. 1348, 1355–56 (1986)). If there is a

genuine issue of material fact, summary judgment must be denied.




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   B. The Application of FRBP 7036

       Debtor argues that his Requests for Admission are deemed admitted by default due to

Defendant’s failure to respond within the thirty-day time-period provided in F.R.B.P. 7036(a). If

I hold as such, Debtor argues such admissions warrant a grant of summary judgment in his favor

in this adversary proceeding. In response, Defendant argues that I have authority to allow the

withdrawal or amendment of requests for admission pursuant to FRBP 7036(b). Defendant

argues that such a ruling warrants the denial of summary judgment because then there would be

outstanding, genuine issues of material fact.

       FRBP 7036 makes FRCP 36 applicable in bankruptcy adversary proceedings. FRBP

7036 governs requests for admission, and provides that “[a] party may serve on any other party a

written request to admit … the truth of any matters … relating to … facts, the application of law

to fact, or opinions about either[.]” Fed. R. Bankr. P. 7036(a)(1)(A). Pursuant to FRBP

7036(a)(3), “[a] matter is admitted unless, within 30 days after being served, the party to whom

the request is directed serves on the requesting party a written answer or objection addressed to

the matter and signed by the party or its attorney.” When the party receiving the request fails to

timely answer, the matters detailed therein are deemed conclusively admitted. In re D'Ambrosio,

452 B.R. 562, 570 (Bankr. E.D. Pa. 2011) (citing Harrison v. Ammons, 2009 WL 2588834, at *4

(M.D. Pa. Aug. 19, 2009); 10 Collier on Bankruptcy P 7036.03 (16th 2019) (“[A]n admission is

of equal force whether affirmatively stated or deemed admitted by default.”). An admission

made pursuant to FRBP 7036 is “an unassailable statement of fact that narrows the triable issues

in the case. Even conflicting testimonial evidence does not alter the effect of an [FRBP 7036]

admission.” Id. (internal citation omitted). However, pursuant to FRBP 7036(b), a court may

find that a party is not bound by an unanswered request for admission. See In re Wolf, 556 B.R.



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676, 685 (Bankr. E.D. Pa. 2016), aff'd, 573 B.R. 179 (E.D. Pa. 2017), subsequently aff'd, 739 F.

App'x 165 (3d Cir. 2018).

       FRBP 7036(b) provides:

               (b) Effect of an Admission; Withdrawing or Amending It. A matter
               admitted under this rule is conclusively established unless the
               court, on motion, permits the admission to be withdrawn or
               amended. Subject to Rule 16(e), the court may permit withdrawal
               or amendment if it would promote the presentation of the merits of
               the action and if the court is not persuaded that it would prejudice
               the requesting party in maintaining or defending the action on the
               merits. An admission under this rule is not an admission for any
               other purpose and cannot be used against the party in any other
               proceeding.

FRBP 7036(b) permits a court to exercise discretion when deciding whether or not to permit a

withdrawal or amendment of requests for admission. In re Wolf, 556 B.R. 676, 685 (Bankr. E.D.

Pa. 2016), aff'd, 573 B.R. 179 (E.D. Pa. 2017), subsequently aff'd, 739 F. App'x 165 (3d Cir.

2018) (citation omitted). “[A] court may permit a motion to withdraw or amend admissions if:

(1) doing so ‘would promote the presentation of the merits of the action’; and (2) ‘the court is not

persuaded that it would prejudice the requesting party in maintaining or defending the action on

the merits.’” Id. (quoting Fed. R. Bankr. P. 7036(b)). Additionally, a formal motion is not

always necessary because a withdrawal or request to withdraw may be imputed from a party’s

actions. Id. (citations omitted).

       In the case at hand, Debtor sent the Requests for Admission to Defendant on February 19,

2019. Mot. for Summ. J. ⁋ 8, ECF No. 11. Defendant did not respond to the Requests for

Admission until April 26, 2019. Debtor’s Br. in Supp. of Mot. for Summ. J. 2, ECF No. 15; see

also Mot. for Summ. J. ⁋⁋ 8-12, ECF No. 11. It is clear that Defendant did not respond within

the required thirty-day time-period. Therefore, pursuant to FRBP 7036(a), the Requests for

Admission may be deemed admitted by default. However, Defendant has requested that these

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admissions be amended by its late submission pursuant to FRBP 7036(b). Defendant’s Br. in

Opp. to Mot. for Summ. J. 4-5, ECF No. 16.

       FRBP 7036(b) grants me discretion in allowing an amendment to admitted requests for

admission if (1) the amendment would promote the presentation of the merits of the action, and

(2) the amendment would not prejudice the requesting party in maintaining or defending the

action on the merits. Fed. R. Bankr. P. 7036(b). “[A] motion that satisfies the first element may

be denied for failure to satisfy the second element.” C.J. Hughes Constr. Co. Inc. v. EQM

Gathering OPCO, LLC, 358 F. Supp. 3d 486, 489 (W.D. Pa. 2019) (citations omitted).

       The first factor I must consider is whether the amendments would promote the

presentation of the case on the merits. “This factor contemplates facilitat[ing] the development

of the case in reaching the truth.” In re Brown, 2018 WL 910139, at *3 (Bankr. M.D.N.C. Feb.

14, 2018) (internal quotation omitted). After a thorough investigation of the docket and the

Requests for Admission, I do not see how allowing the default admissions to stand would

promote justice or the presentation of the case on the merits because some of the default

admissions are contrary to facts already in the record. See In re S.W. Bach & Co., 2010 WL

681000, at *3 (Bankr. S.D.N.Y. Feb. 24, 2010) (“‘The presentation of the merits clearly would

be served here by permitting defendant to dispute a central issue in this case,’ where the

defendant disputed the admission ‘[f]rom the very onset of [the] litigation.’” (citation omitted));

see also C.J. Hughes Constr. Co. Inc. v. EQM Gathering OPCO, LLC, 358 F. Supp. 3d 486, 489

(W.D. Pa. 2019) (“[I]t comes as no surprise that a court in this District has previously observed

that ‘the first prong would virtually always be satisfied.’” (citation omitted)).

       For example, Requests for Admission Nos. 3 & 4 seek to admit the fact that when

Defendant debited Derk’s account on October 29, 2018, it was doing so to collect on a pre-



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petition claim against Debtor. Mot. for Summ. J. 2, ECF No. 11. Additionally, Request for

Admission No. 16 seeks to admit that Defendant’s action in debiting Derk’s account was a

violation of the automatic stay. Id. at 3. However, while Defendant admitted to debiting Derk’s

account, it also denied that this act violated the stay on multiple occasions. See Defendant’s

Answer to the Adversary Compl. ⁋⁋ 10 & 15, ECF No. 5; Defendant’s Answer to Mot. for

Summ. J. ⁋ 15, ECF No. 13; Defendant’s Resp. to Statement of Undisputed Material Facts ⁋ 10,

ECF No. 17; Defendant’s Br. in Opp. to Mot. for Summ. J. 3 & 4, ECF No. 16.

       Requests for Admission Nos. 14, 15, & 18 seek to admit the fact that Defendant violated

the stay when it repossessed the Vehicle with Debtor’s personal possessions allegedly still inside.

Mot. for Summ. J. 3, ECF No. 11. Again, Defendant denied these allegations on multiple

occasions. See Defendant’s Answer to Adversary Compl. ⁋ 13, ECF No. 5; Defendant’s Resp. to

Statement of Undisputed Material Facts ⁋⁋ 20, 21, & 24, ECF No. 17. Additionally, Debtor’s

own Brief provides that the existence of any of Debtor’s personal contents in the Vehicle at the

time of repossession is a disputed fact in relation to Defendant’s liability. Debtor’s Br. in Supp.

of Mot. for Summ. J. 4n.7, ECF No. 15.

       Furthermore, Requests for Admission Nos. 14-19, are examples of requests for admission

which seek the admission of legal conclusions. Mot. for Summ. J. 3, ECF No. 11. Requests for

admission which call for legal conclusions are manifestly improper, and forcing a party to admit

legal conclusions “will only frustrate the purposes for which Rule 36 was drafted.” In re S.W.

Bach & Co., 2010 WL 681000, at *4-6 (Bankr. S.D.N.Y. Feb. 24, 2010); see also McCarthy v.

Darman, 2008 WL 2468694, at *1 (E.D. Pa. June 17, 2008) (quoting Disability Rights Council

of Greater Washington v. Washington Metropolitan Area Transit Auth., 234 F.R.D. 1, 1 (D.D.C.

2006) (“It would be inappropriate for a party to demand that the opposing party ratify legal



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conclusions that the requesting party has simply attached to operative facts.”)). Therefore, I find

that Requests for Admission Nos. 14-19 cannot be deemed admitted by default admission

because they call for legal conclusions relating to ultimate legal issues in this case.

       For the above stated reasons, I find that the first factor weighs in favor of allowing

Defendant’s amendments to the Requests for Admission.

       The second factor I must consider is whether the amendments would prejudice the Debtor

in maintaining this action on the merits. The prejudice contemplated in the second factor is

something more than that the party will now have the burden of proving a fact at trial that the

admission would have eliminated. In re Brown, 2018 WL 910139, at *4 (Bankr. M.D.N.C. Feb.

14, 2018) (citation omitted). Instead, it refers to some special difficulty resulting from the

sudden need to produce evidence. Id. (citation omitted); see also In re Ames Dep't Stores, Inc.,

470 B.R. 280, 287 (S.D.N.Y.), aff'd, 506 F. App'x 70 (2d Cir. 2012) (finding that deeming

admitted untimely answers to requests was not warranted because the requesting party suffered

no prejudice other than having to prove the entirety of its case on the merits and because

admitting the requests would detract from a resolution on the merits).

       In accordance with the examples I provided in my analysis of the first factor, I find that

allowing the amended admissions would not prejudice Debtor because Defendant has already

admitted to or denied the statements propounded in the allowable Requests for Admission

through other filings on the docket. See In re Brown, 2018 WL 910139, at *4 (Bankr. M.D.N.C.

Feb. 14, 2018) (“There would also be no evidentiary surprises to the Debtor upon withdrawal,

because the docket already fully incorporates substantial evidence to the contrary of the default

admissions…”); see also In re Shader, 2011 WL 6739581, at *3 (Bankr. D. Vt. Dec. 16, 2011)

(“Weighing the value of having this additional information against a slight delay at this stage of



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the litigation, the Court finds grounds to relieve Defendant from a strict application of Rule

36(a).”). Also, Defendant’s responses to Debtor’s Requests for Admission were only thirty-six

days tardy. Finally, Debtor has not shown any cognizable prejudice he would suffer if the

amendments were allowed. Therefore, I will allow Defendant’s amended answers to Debtor’s

Requests for Admission pursuant to FRBP 7036(b).3

      C. Debtor’s Request for Summary Judgment in Relation to Defendant’s Repossession
         of the Vehicle.

           Debtor argues for summary judgment to be entered in his favor on the question of

liability concerning Defendant’s alleged violation or violations of the automatic stay pursuant to

§ 362(a)(1), (3), & (6). Debtor argues Defendant violated the stay when, amongst other actions,

Defendant disabled and repossessed the Vehicle. In response, Defendant argues that Debtor is

not entitled to summary judgment and that it did not violate the stay because Debtor waived his

rights to the protections of the automatic stay pursuant to paragraph thirteen of the Agreement.

           One of the hallmarks of bankruptcy protection is the automatic stay. In re Thomas, 529

B.R. 628, 635 (Bankr. W.D. Pa. 2015). Generally, § 362(a) of the Bankruptcy Code protects a

debtor from a creditor’s actions to enforce or collect a pre-petition claim. The subsections of §

362(a) in question provide:

                   (a) Except as provided in subsection (b) of this section, a petition
                   filed under section 301, 302, or 303 of this title, or an application
                   filed under section 5(a)(3) of the Securities Investor Protection Act
                   of 1970, operates as a stay, applicable to all entities, of—
                           (1) the commencement or continuation, including
                           the issuance or employment of process, of a
                           judicial, administrative, or other action or
                           proceeding against the debtor that was or could
                           have been commenced before the commencement
                           of the case under this title, or to recover a claim
                           against the debtor that arose before the
                           commencement of the case under this title;

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    Accordingly, Debtor’s Motion in Limine is denied. See Debtor’s Br. in Supp. of Mot. for Summ. J. 5, ECF No. 15.

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                       (3) any act to obtain possession of property of the
                       estate or of property from the estate or to exercise
                       control over property of the estate;
                                          *        *       *
                       (6) any act to collect, assess, or recover a claim
                       against the debtor that arose before the
                       commencement of the case under this title;
                                          *        *       *

For purposes of Defendant’s conduct in disabling and repossessing the Vehicle, I will focus on

§ 362(a)(3). Put more simply, § 362(a)(3) stays acts of a creditor to obtain possession of, or

exercise control over, property of the estate. In re Vu, 591 B.R. 596, 601 (Bankr. E.D. Pa. 2018).

       “If a creditor violates the automatic stay, § 362(k)(1) provides that an individual debtor

who is ‘injured by any willful violation of [the automatic stay] ... shall recover actual damages,

including costs and attorneys' fees and, in appropriate circumstances, may recover punitive

damages.’” In re Trokie, 590 B.R. 663, 671 (Bankr. M.D. Pa. 2018) (quoting 11 U.S.C. §

362(k)(1)). A “willful” violation of the stay occurs when a creditor violates the stay with

knowledge that a bankruptcy petition has been filed. Id. (citations omitted). Such a violation

does not require that the creditor intended to violate the automatic stay provision, just that the

creditor’s act which violated the stay was intentional. In re Johnson, 2019 WL 2122732, at *7

(Bankr. E.D. Pa. May 14, 2019) (citations omitted). In order to establish a claim pursuant to §

362(k)(1), the debtor bears the burden of proving, by a preponderance of the evidence, that “(1)

the creditor violated the automatic stay; (2) the violation of the stay was willful; and (3) the

willful violation caused the debtor some injury.” Id. (citations omitted).

       At this stage of the proceedings, Debtor only requests summary judgment as to

Defendant’s general liability in violating the automatic stay. Therefore, for purposes of this




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Opinion, I only need to determine the first factor, whether or not Defendant violated the

automatic stay.

        In the case at hand, on August 5, 2017, Debtor entered into the Agreement with

Defendant. Defendant’s Br. in Opp. to Mot. for Summ. J. 2, ECF No. 16. The Agreement

characterizes itself as a “true lease.”4 Debtor’s Statement of Undisputed Material Facts in Supp.

of Mot. for Summ. J., Exhibit Agreement at 2, ECF No. 14-1. In In re Smith, a vehicle lease was

characterized as a true lease because:

                 (1) the lessor and then the assignee retain ownership in the Vehicle
                 unless the Debtor exercises his option to purchase it during the
                 term of the Lease or at the Schedule Maturity Date; (2) in the event
                 that the Debtor exercises the option to purchase the Vehicle, he
                 must pay additional and substantial consideration for it; (3) the
                 Debtor has the option of terminating the Lease prior to the
                 Scheduled Maturity Date; and (4) the Debtor is not obligated to
                 renew the Lease or become the owner of the Vehicle.

449 B.R. 35, 40 (Bankr. E.D. Pa. 2011). All four of these attributes are present in the Agreement

before me. Additionally, when Debtor filed his voluntary Chapter 7 bankruptcy petition on

September 14, 2018, Debtor had possession of the Vehicle and both parties still owed

unperformed obligations to one another under the Agreement. Therefore, because the

Agreement is a true lease, I will characterize it as an unexpired lease for the purposes of this

Opinion.

        Pursuant to § 365(a), subject to the court’s approval, any unexpired lease of the debtor, as

an executory contract, may be assumed or rejected. Additionally, Debtor notes the applicability

of §§ 362(h)(1) and 521(a)(2). Section 362(h)(1) provides:



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  While Debtor argues that the Agreement may be a disguised security agreement, he also provides that
characterizing the Agreement as an unexpired lease will still result in a determination that Defendant violated the
automatic stay. See Debtor’s Br. in Supp. of Mot. for Summ. J. 3, ECF No. 15. I agree, and therefore, I will not go
into a disguised security agreement analysis.

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              (h)(1) In a case in which the debtor is an individual, the stay
              provided by subsection (a) is terminated with respect to personal
              property of the estate or of the debtor securing in whole or in part a
              claim, or subject to an unexpired lease, and such personal property
              shall no longer be property of the estate if the debtor fails within
              the applicable time set by section 521(a)(2)--
                      (A) to file timely any statement of intention
                      required under section 521(a)(2) with respect to
                      such personal property or to indicate in such
                      statement that the debtor will either surrender such
                      personal property or retain it and, if retaining such
                      personal property, either redeem such personal
                      property pursuant to section 722, enter into an
                      agreement of the kind specified in section 524(c)
                      applicable to the debt secured by such personal
                      property, or assume such unexpired lease pursuant
                      to section 365(p) if the trustee does not do so, as
                      applicable; and
                      (B) to take timely the action specified in such
                      statement, as it may be amended before expiration
                      of the period for taking action, unless such
                      statement specifies the debtor's intention to reaffirm
                      such debt on the original contract terms and the
                      creditor refuses to agree to the reaffirmation on such
                      terms.

Section 521(a)(2) provides:

              (a) The debtor shall—
                                           *       *       *
                      (2) if an individual debtor's schedule of assets and
                      liabilities includes debts which are secured by
                      property of the estate—
                               (A) within thirty days after the date
                               of the filing of a petition under
                               chapter 7 of this title or on or before
                               the date of the meeting of creditors,
                               whichever is earlier, or within such
                               additional time as the court, for
                               cause, within such period fixes, file
                               with the clerk a statement of his
                               intention with respect to the retention
                               or surrender of such property and, if
                               applicable, specifying that such
                               property is claimed as exempt, that
                               the debtor intends to redeem such

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                                property, or that the debtor intends to
                                reaffirm debts secured by such
                                property; and
                                (B) within 30 days after the first date
                                set for the meeting of creditors under
                                section 341(a), or within such
                                additional time as the court, for
                                cause, within such 30-day period
                                fixes, perform his intention with
                                respect to such property, as specified
                                by subparagraph (A) of this
                                paragraph;
                                            *      *       *

        When read in conjunction, §§ 362(h)(1) and 521(a)(2) terminate the stay with respect to

personal property of the estate, which is subject to an unexpired lease, if the debtor fails (1) to

file, within thirty days after the date of the filing of the petition, a statement of intention with

respect to such personal property indicating that the debtor will be surrendering or retaining such

personal property; and (2) to perform debtor’s intention with respect to such property within 30

days after the first date set for the meeting of creditors. See In re Dunn, 589 B.R. 253, 258 (E.D.

Pa. 2018) (citing In re Miller, 443 B.R. 54, 58 (Bankr. D. Del. 2011) (holding that “section

362(h) provides that the stay will be terminated and the collateral will no longer be property of

the estate if the debtor fails to file and to perform a statement of intention to surrender, to

redeem, to reaffirm or, in the case of leased property, to assume the unexpired lease”)).

        As previously stated, Debtor filed his bankruptcy petition on September 14, 2018. The

automatic stay took effect, including as to Debtor’s personal property (i.e., the Vehicle), at the

moment Debtor’s bankruptcy petition was filed. 11 U.S.C. § 362(a). Debtor’s bankruptcy

petition included a statement of intention which provided that Debtor intended to retain the

Vehicle and would continue making payments to Defendant without reaffirming. Bankruptcy

Petition 52, 4:18-bk-3855-RNO, ECF No. 1. This statement of intention was clearly filed within



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the thirty-day time-period required by §§ 362(h)(1)(A) and 521(a)(2)(A). Therefore, the stay did

not terminate thirty days post-petition, and Debtor was granted the benefits of the stay as to his

personal property, including the property covered by the Agreement, until, at least, thirty days

following the first date set for the meeting of creditors. Even if Debtor had failed to satisfy

§§ 362(h)(1)(A) and 521(a)(2)(A), the District Court for the Eastern District of PA has already

concluded that “the operative date for termination of the stay under § 362(h)(1) is thirty days

after the date set for the creditors’ meeting.” In re Dunn, 589 B.R. 253, 259 (E.D. Pa. 2018).

       Defendant received notice that the initial meeting of creditors was to be held on

November 7, 2018. Debtor’s Statement of Undisputed Material Facts in Supp. of Mot. for

Summ. J. ⁋ 2, ECF No. 14. However, on November 20, 2018, Defendant remotely disabled the

Vehicle, and on November 21, 2018, Defendant repossessed the Vehicle. Id. at ⁋⁋ 5-6.

Therefore, it is clear that Defendant took action against the Vehicle within the thirty-day period

provided by §§ 362(h)(1)(B) and 521(a)(2)(B). The automatic stay was in effect as to the

Vehicle and any of Debtor’s personalty therein. See In re Dunn, 589 B.R. 253, 259 (E.D. Pa.

2018) (affirming the bankruptcy court’s holding that the creditor had violated the stay by

repossessing the debtor’s vehicle within the thirty-day period following the first date set for the

meeting of creditors). In its defense, Defendant argues that the Agreement itself constitutes a

waiver by Debtor of the protections of the automatic stay. Defendant’s Br. in Opp. to Mot. for

Summ. J. 3, ECF No. 16.

       Defendant argues that paragraph thirteen of the Agreement supports its assertion that

Debtor waived protection of the automatic stay in relation to the Vehicle when Debtor filed his

voluntary Chapter 7 bankruptcy petition. Defendant’s Resp. to Debtor’s Statement of

Undisputed Material Facts ⁋ 5, ECF No. 17. Paragraph thirteen of the Agreement provides:



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               13. DEFINITION OF DEFAULT; OUR RIGHTS IN THE
               EVENT OF DEFAULT. A. You will be in “DEFAULT” if any
               of the following occurs: (1) you do not make your periodic
               payments on or before its due date; (2) YOU DO NOT KEEP IN
               FORCE THE INSURANCE COVERAGE THIS LEASE
               REQUIRES (see REQUIRED INSURANCE); (3) YOU
               COMMENCE BANKRUPTCY, INSOLVENCY OR
               RECEIVERSHIP PROCEEDINGS OR ONE IS
               COMMENCED AGAINST YOU; … B. In the event of Default,
               Owner can, at its option: (1) take steps to perform your obligation
               that gave rise to the Default (in which case you agree to pay all our
               costs and expenses in so doing immediately on our demand); or (2)
               immediately terminate this Lease and do any or all of the following
               after giving due notice: (i) sue you for damages and to recover the
               Vehicle (ii) take the Vehicle from you by any method or manner
               permitted by law (and if there is any personal property in the
               Vehicle, we will store it at your expense or dispose of it as required
               by applicable law); …

(emphasis in the original). Debtor’s Statement of Undisputed Material Facts in Supp. of Mot. for

Summ. J., Exhibit Agreement at 2, ECF No. 14-1. In further support of its assertion, Defendant

cites In re Frye which provides multiple factors that a court should consider when determining

whether relief from stay should be granted based on a waiver. 320 B.R. 786, 790-91 (Bankr. D.

Vt. 2005). Defendant argues that factual issues exist in relation to these factors, and therefore,

summary judgment should be denied. Defendant’s Br. in Opp. to Mot. for Summ. J. 4, ECF No.

16.

       After reviewing the Agreement, and paragraph thirteen in particular, I do not agree with

Defendant that paragraph thirteen constitutes a waiver of the automatic stay. Rather, paragraph

thirteen is more appropriately characterized as an unenforceable ipso facto clause pursuant to

§ 365(e)(1)(B). Section 365(e)(1)(B) provides:

               (e)(1) Notwithstanding a provision in an executory contract or
               unexpired lease, or in applicable law, an executory contract or
               unexpired lease of the debtor may not be terminated or modified,
               and any right or obligation under such contract or lease may not be
               terminated or modified, at any time after the commencement of the

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               case solely because of a provision in such contract or lease that is
               conditioned on—
                                         *      *       *
                      (B) the commencement of a case under this title; or
                                         *      *       *

“Section 365(e)(1) states that clauses in executory contracts and unexpired leases that premise

default upon a party's commencement of a bankruptcy action are unenforceable.” In re W.R.

Grace & Co., 475 B.R. 34, 153 (D. Del. 2012), aff'd sub nom. In re WR Grace & Co., 729 F.3d

332 (3d Cir. 2013), and aff'd, 532 F. App'x 264 (3d Cir. 2013), and aff'd, 729 F.3d 311 (3d Cir.

2013), and aff'd sub nom. In re WR Grace & Co., 729 F.3d 332 (3d Cir. 2013). The only event

of default cited by Defendant is Debtor’s filing of his Chapter 7 bankruptcy petition.

Defendant’s Br. in Opp. to Mot. for Summ. J. 2, ECF No. 16.

       Defendant cites In re Frye, 320 B.R. 786 (Bankr. D. Vt. 2005) in support of its argument

that paragraph thirteen constitutes a waiver of the automatic stay. Defendant’s Br. in Opp. to

Mot. for Summ. J. 3-4, ECF No. 16. However, In re Frye is distinguishable from the case before

me because In re Frye involved a forbearance agreement, which was negotiated as part of a

previously dismissed bankruptcy case, whereby the debtor specifically waived future protections

of the automatic stay. 320 B.R. 786, 788 (Bankr. D. Vt. 2005). Paragraph thirteen of the

Agreement was negotiated as part of the original lease documents and is effectively statutorily

abrogated by § 365(e)(1)(B).

       Since I have already held the Agreement to be an unexpired lease, and since the filing of

a bankruptcy petition alone cannot constitute an event of default under an unexpired lease, I find

that there is no outstanding genuine issue of material fact that Defendant violated the automatic

stay when it disabled and repossessed the Vehicle. I thus conclude that Debtor is entitled to

judgment on liability as a matter of law. I will now turn my attention to whether Defendant



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violated the automatic stay when it debited Derk’s account or when it repossessed the Vehicle

with Debtor’s possessions allegedly still inside.

   D. Debtor’s Request for Summary Judgment in Relation to Defendant Debiting Derk’s
      Account.

       Debtor argues that Defendant violated the automatic stay on October 29, 2018, when

Defendant debited, post-petition, an account of Derk’s to satisfy Debtor’s monthly lease payment

on the Vehicle. Adversary Compl. ⁋ 10, ECF No. 1. Defendant argues that the automatic stay

does not apply to Derk because she is merely a third-party who authorized Defendant to

withdraw funds from her account to satisfy Debtor’s monthly lease payments on the Vehicle.

Defendant’s Answer to the Adversary Compl. ⁋ 10, ECF No. 5; Defendant’s Answer to Mot. for.

Summ. J. ⁋ 6, ECF No. 13. Defendant further argues that Derk’s name appears nowhere on the

Agreement. Defendant’s Br. in Opp. to Mot. for Summ. J. 4, ECF No. 16.

       In this regard, I have to agree with Defendant. After looking at the Agreement, I do not

find any reference to Derk as a co-obligor. Even if I did, unlike in Chapter 12 or Chapter 13

cases, co-debtors of a Chapter 7 debtor are not provided the protections of the automatic stay.

See 11 U.S.C. §§ 1201 & 1301. Additionally, Derk is not a named debtor in Debtor’s underlying

Chapter 7 bankruptcy case. “In general, only the debtor is afforded the protections of the

automatic stay under section 362; conversely, third-parties do not receive the protection of the

automatic stay.” In re Uni-Marts, LLC, 399 B.R. 400, 415 (Bankr. D. Del. 2009) (citations

omitted). Furthermore, Debtor has provided no authority to support his argument. Therefore,

Debtor’s Motion in regards to Defendant’s October 29, 2018, debit of Derk’s account is denied

as to Defendant’s liability.




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         E. Debtor’s Request for Summary Judgment in Relation to Defendant’s Repossession
            of the Vehicle with Debtor’s Personal Possessions Allegedly Still Inside.

             In his Adversary Complaint, Debtor contends that he had possessions in the Vehicle

      when Defendant repossessed it on November 21, 2018. Adversary Compl. ⁋ 13, ECF No. 1.

      However, Defendant denied these allegations. Defendant’s Answer to the Adversary Compl. ⁋

      13, ECF No. 5. Debtor acknowledges that whether or not his possessions were in the Vehicle

      when it was repossessed is a disputed fact, and therefore summary judgment as to Defendant’s

      general liability for violating the stay in this regard is inappropriate. See Debtor’s Br. in Supp. of

      Mot. for Summ. J. 4n.7, ECF No. 15. Therefore, Debtor’s Motion concerning Defendant’s

      repossession of the car with Debtor’s possessions allegedly still inside is denied as to

      Defendant’s liability.

IV.      CONCLUSION

             In sum, I find that Defendant violated the automatic stay when it disabled and

      repossessed the Vehicle. The trial will consider two matters. First, can Debtor substantiate a

      claim that he suffered losses by reason of unaccounted for items which were in the Vehicle when

      Defendant repossessed it? Second, what damages is Debtor entitled to because of the automatic

      stay violation(s). Judgment will be entered consistent with this Opinion.




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